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"' UN|TED STATES DlSTFilCT COUFiT
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pmc/so 9 F¢)vm/) wm No. V‘?? 033 woi<{y¢_,yl.
1i,/oc,Dr.¢.)eS, c‘rz> ,
Plaintiff(sl,
vs. - :` MOTlON PRACT|CE
H/BAC- H£Grr.. F¢JME FMT Ca':;»‘\\lw\
9 ?- H'L’ Defendantls).

 

Counsel contemplating filing any motion is first required to contact opposing
counsel to thoroughly discuss the substance of the proposed motion and any
potential resolution. The Court will reject any motion that does not fully comply
with Local Rule 7.4.1.

Counse| is admonished that all ~moving papers must comply with Local Civi|
Rules. Particular attention is drawn to Local Ru|e 3.9.3. which requires that
California State Court citations include citation to the California Fieporter. |n
addition, for subsequent “short” form citations, citation must be made to the
California Fieporter; citation to the official reporter is not required other than in the
initial citation.

Counsel is also warned that the Court requires strict adherence to filing
deadlines for-all papers. Pursuant to Local Rule 7.9, papers which are not timely
filed will not be considered and may be deemed by the Court as consent to the
granting or denial of the motion, as the case may be.

When making allegations of fact, counsel shall cite with particularity to any
evidence in the record before the Court which supports the allegation. Each citation
shall identify the specific document and page number containing such evidence.
Any factual allegation not supported by a specific citation to the record will not be
considered as evidence.

Counse| for the plaintiff is ORDERED to immediately serve a copy of this
Order on all parties to this action who have been served with the Comp|aint. if the
summons and complaint have not been served on the defendantlsi yet, p|aintiff‘s .
counsel shall serve a copy of this Order at the time the summons and complaint are
served on defendantls). lf additional parties are served in this action subsequent to
the date of this Order, counsel for the plaintiff shall immediately serve a copy of the
Order on each newly served party.

This Court owns an interest in Traveler's insurance Corporation and American
international Group, lnc., which includes the following companies: Foreign Genera|,
international Lease, Finance, Nationa| Union, United Guarantee, and other
companies with the designation "AlG" in their names. Counsel are required to
immediately advise the Court if the named insurance groups are involved as an
insurer in the litigation. . `.

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`Judge William D. Kel er
United States District Cou

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